                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                        DOCKET NO. 3:10CR238-RJC-DSC-9


UNITED STATES OF AMERICA,                      )
                                               )
           v.                                  )
                                               )               ORDER
MILTON EARL ADAMS,                             )
                                               )
                       Defendant.              )
___________________________________________)


       THIS MATTER is before the Court on the “Application for Admission to Practice Pro Hac

Vice” (Doc. 298) filed September 23, 2011 requesting admission of Attorney Roger J. Rosen to

represent Defendant. For the reasons set forth therein, the Motion is GRANTED.

       The Clerk is directed to send copies of this Order to counsel for the parties, including but not

limited to moving counsel; and to the Honorable Robert J. Conrad, Jr..

       SO ORDERED.

                                                   Signed: October 3, 2011




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